              Case: 4:11-cr-00011-SNLJ         Doc. #: 182     Filed: 07/30/18               Page: 1 of 13 PageID #:
              R E c E I v E D UNITED STATES DISTRICT
                                             571     COURT
I
              8 y M A I L EASTERN DISTRICT OF MISSOURI
                  JUL 3 0 2018                EASTERN DIVISION
                 U.S. DISTRICT COURT
               EASTERN DISTRICT OF MO
                  CAPE GIRARDEAU
        LARRY NEWMAN,
              Petitioner.


        vs.                                                        case No. 4:13 CV01176(SNIJ).
                                                                         28   u.s.c. §2255(f)(3).
        UNITED STATES OF AMERICA,
                               Petitioner.
                                               I


                  PETITIONER NEWMAN BRINGS THIS 28 U.S.C. § 2255 (f)(3)
                    M0'1'ION' -:'.:N LJ.GI/T 0F TBB 8UPREM:i!: COURT'S DF;CISION IN·
                      SESSIONS V. DIMAYA, No. 15-1498, 2018 WL 1800371
                                            (U.S. April 17,2018).


        COMES NOW, Larry Newman,               ("hereinafter Petitioner Newman"),
        acting pro se in the above styled matter, moving under 28                                      u.s.c.
        §2255 states:

        "A prisoner .•. claiming the right to be released upon the ground
    :   ·that· the       sentenc~       wa:s imposed in violatiort of'" t11e donsti t'utiori
              or laws of the United States ••• or that the sentence was in
              excess of the maximum authorized by law ••• may move the Court
                     which imposed the sentence to vacate, set aside or
                                            correct the Sentence."

               "(f) A 1 - year period of limitation shall apply to a motion
               under this section. The limitation period shall run from the
                  latest of (3) the date on which the right asserted was
              initially recognized. by tho Supreme Court, if that right has
                                                         ,•   ?i;;:. ~        •      "' ..    ..          •     .. •

          .beeh riev1l:-i re-·;og:ni'z"ed oy ·l :Jc Sup:reme Court ·and made :ret:coacti~e ·
                          applicable to cases on collateral review, or"
           Case: 4:11-cr-00011-SNLJ     Doc. #: 182 Filed: 07/30/18   Page: 2 of 13 PageID #:
                                                   572
                                        I. BACKGROUND.



      O:n August 02,      2010, at approximately 6:05 four (4) individuals,

      each armed with a firearm, forced their way into ATM. They

      announced a robbery and subsequently took over $6 millio.:i. which

      was property of ATM. The money that was taken from ATM was taken

      under a threat of violence, two (2) employees of ATM who were

      both physically restrained during the robbery. The robbers also

      took the firearms from each of the employees and tied them up

      after forcing them to assist in placing of the U.S. currency

      into an ATM van.

                        The robbers decided that they needed to steal an

      ATM van, because there was too much money to put into the vehicle

      that they drove to the robbery. They loaded the ATM •van with

      $6 million and drove to a residence at 4032 , st. Louis, Missouri.

      The van was driven into the garage at the location and emptied.

      Those involved in the robbery was given some of the stolen money

      and their plan was that the money would be concealed for a

·~v.. · tim1:    while things cooled down.""

                                             Larry Newman was one of the ATM

      robbers who, on the day of the robbery, received a share of

      the stolen money being told that he would be given more at a

      later date. The day after the robbery, the original plan began

      to unravel when another one of the robbers, John Jones, wa3

      arrested with over 1.4 million dollars in the trunk of his car

      followi~~       a police chase.
            I;



                                      Larry Newman ple~ded guilty to ~idnapping

      and possession of a firearm in furtherance of a crime of violence.

     This Court sentenced Newman to 294 months imprisonment.
   Case: 4:11-cr-00011-SNLJ    Doc. #: 182 Filed: 07/30/18   Page: 3 of 13 PageID #:
                                          573

        Section 924(c)(3) defines the term "crime of violence" as

either a felony that "has as an element the use, attempted use,

or threatened use of physical force against the person or

property of another "or a felony" that by its nature, involves

a substantial risk that physical force against the person or

property of another may be used in the course of committing

the offense. Both parties agree that the first definition, known

as the "elements clause," does [not[ app.ly here because 18              u.s.c.
§ 1201(a), kidnapping does not require, as an element, the use

of force, threatened J.se, or attempted use of physical force.

See U.S.C. § 1201     (Whoever unlawfully seizes, confines, inveigles,

decoys, kidnaps, abducts, or carries away and holds for              ranso~

or reward or otherwise any person •.• when the person is willfully

transported in interstate or foreign commerce ••• ).

See also United State v. -~'('{·0.....

Conseq·J.ently, Newman could have been convicted only under the

second definition, known as§ 924(c)(3}'s "residual clause."



                 II. TIMELINES 28 U.S.C. §2255(f)(3).


A § 2255 motion must generally be filed within one year of "the

date on which the judgment of conviction becomes final."

See§ 2255(f)(1}. But it may be brought after that time period

if the movant asserts a right within one year of "the date which

the right asserted
   '~           . .., .,was   initially:;r~cognized
                                                '
                                                      by the S.upreme
                                                         ~   ~.     . ..
                                                                         Court,
                                                                             ,.



if that right has b :=en newly recognized by the Supreme Court
                       1




and made retroactively applicable to cases on collateral review.

§ 2255(f}(3).

               By its plain language, the statute allows a § 2255

motion to be filed within one year of "the date on which the
                                      I .., '
   Case: 4:11-cr-00011-SNLJ          Doc. #: 182 Filed: 07/30/18     Page: 4 of 13 PageID #:
                                                574


right asserted was initially recognized by the Supreme Court.

28 u.s.c. § 2255 (f)(3). "We give the words of a statute their
ordinary, contemporary, common meaning, absent an indication

Congress intended them to bear some different import."
Wall v. Kholi, 562 U.S. 545, 551, 131 s.ct. 1278 L.Ed. 2d 252
(2011) (quoting Williams v. Taylor, 529 U.S. 420, 431, 120 S.Ct.
1479 (2001)). To "assert" means "[t]o state positively" or "[tJo
invoke or enforce a legal right. "Thus, in order to be tim·ely

under§ 2255(f)(3), a§ 2255 motion need only "invoke" the newly

recognized right, regardless of whether or not the fa::ts of
record .u.l timately ·support movant' s claim.             Uni1;.e~__states   v. Snyder L
871 F.3d 1122 (10th Cir. 2017); United States v. Winston, 850 F.3d
677, 682 (4th Cir.2017).
                                     Newman claims that his       co~viction    and
sentence is no longer valid under Session v. Dimaya, No.15-1498,
2018 WL 1800371 (U.S. April 17,2018). In Dimaya, the Court held
"18 "iJ.S.C. §16(b) 's definitio:i of a crime of violence" is
unconstitutionally vague in light of its reasoning in Johnson

v. United States,__ _.1_~.?..--~-·._gt._._~551 (2015), which invalidated the
the similarly worded residuel definition of a "violent felony"
in the arm•ed ·::areer criminal act (ACCA).
Dimaya announced a new substantive rule of constitutional law
that the Supreme Court has categorically made retroactive to
final convictions. Dimaya is an extensio,n of Johnson,. _VJl,lich
                         ~.   .. .
a~noun'c:::ea a new rule·: It broke ground- by· invalidating a· pro.-

 vision of ACCA. See Chaidez v. United states, 133 s.ct. 1103,

1107, 185 L. Ed. 2d 1 49 ( 2013) ( 11 [A]         case~unees ::!.a,.:.ne'W ·.r.tlle




                                            (4)
   Case: 4:11-cr-00011-SNLJ   Doc. #: 182 Filed: 07/30/18   Page: 5 of 13 PageID #:
                                         575

if the result was not dictated by precedent existing at the

time the defendant's      convictio~   became final. Dimaya rests on

the notice requirement of the due process clause of the Fifth

Amendment, and thus the new rule that it announces is one of

Constitutional law. Moreover, the Dimaya rule was previously

unavailable to Newman. Newman was never able to argue effectively

that his § 924(c) conviction and his underlying §1201 conviction

were not "crim•es of violence," Nor that the residual clause

was unconstitutionally vague.

            The remaining question is whether the Supreme Court's

decision in Dimaya was "made" retroactive to cases on collateral

review. Tyler v. Cain, holds that the retroactivity determination

must be made by Supreme Court. 533 U.S. 656,662 (2001).

In Tyler, the Court explained that "made" means held and, thus,

the requirement is satisfied only if this Court has held that

the new rule is retroactively applicable to cases on collateral

review. " Id; see also Simpson v. United States, 721 F.3d 875,876

(7th Cir. 2013) ( "·rhe declaration of retroacti vi ty must come

from the Justices.")      ("if we held in case one that a Particular

type of rule applies retroactively and hold in case two that

a given rule applies retoactively ••• In such circumstances,

we can be said to have 'rn.ade' the given rule retroactive.")

Id at 668-69. In Schiro v. Sum.merlin, 542 U.S. 348 (2004), the

Court summarized the various ways in which new rules affect
                                             .
cases •..W4l~? ,;the Court announces a !Jew.. rule,· 11 tha;t rttl·~ applies
                                                                                      •

                                                                                          ·~r.


to all criminal cases still pending on direct review." Id at

351. For convictions that are already final, however, new rules

apply only in limited situations:



                                       (5)
             Case: 4:11-cr-00011-SNLJ        Doc. #: 182 Filed: 07/30/18   Page: 6 of 13 PageID #:
                                                        576


               New substantive rules generally apply retroactively. This

            includes decisions that narrow the scope of a criminal statute

                  by interpreting its terms ••• as well as constitutional

           determination that place particular conduct or persons covered

                    by the statute beyond the state's power to punish •••


          N·ew rules of procedure... generally do not apply retroactively •••

                    [W]e give retroactive effect to only a small set of
              "watershed rules of criminal procedure implicating the fund-
               amental fairness and accuracy of the ·criminal proceeding."
            Id. at 351-52 (quoting Saffel v. Parks, 494 U.S. 484, 495, 110
               S.Ct 1257, 108 L.Ed.2d 415 (1990); See also Teague v. Lane
                  489, U.S. 288, jQ9 s.ct. 1066, 103 L.Ed. 2d 334 (1989)
          (d.iscussing the ground rules for retroactivity for                constitutio~al

           Procedural rules).


          When the new rule is substantive, it is easy (as Justice
          O'Connor pointed out in Tyler) to demonstrate the required
          declaration from the Supreme Court confirming that the rule
          is retroactive: "When the Court holds as a new rule in a sub-
          se~uent     case that a particular species of primary,             pr~vate

          individual conduct is beyond the power of the criminal law-making
          authority to proscribe it necessarily follows that this Court
          has 'made' that new rule retroactive."
         Tyler, 533 U.S. at 669; See also Summerlin, 542 U.S. at 351-
          52 ( New substantive rules generally apply retroactive ••• because
          they necessarily carry a significant risk that a defendant
          stands convicted of an act that the law do·es not make criminal'
         or faces a punishment that the law cannot impose upon him.")
          (quoting Bousley v. United States, 523, U.S. 614, 620, 118 S.Ct.
t;·.~-:\~1 · 16.04, 140 L ... Ed.   2d 828. (1998)). This is···?ntirely. conis.istent
         with Teague, which reco9nized that a new substa_-itive rules are
         categorically retroactive.

                                               Dimaya, announced a new substantive

         rule. In deciding             that "Crime of violence is unconstitutionally

          va:Jue, the Supreme Court prohibited "a certain cate•:Jory of

                                                     (6)
   Case: 4:11-cr-00011-SNLJ                        Doc. #: 182 Filed: 07/30/18    Page: 7 of 13 PageID #:
                                                              577


punishment for a cla:ss of defendants because of their statu::i."

Saffle, 494 U.S. at 494. A defendant who was .sentenced for a

crime labeled as a "crime of violen.::::e" necessarily bears a

significant risk of facing "a punishment th3.t the law cannot

impose     upo~              him." Summerlin, 542 U.S. at 352. There is no

escaping the logical conclusion that the Court itself has made

Dimaya categorically retroactive to cases on collateral review.



A. PROCEDURAL DEFAULT.

     "[T]he general rule· [is] that claims not raised on direct

appeal may not be.raised on collateral.review.unle~s_the

petitioner shows cause and prejudice." Massaro v. United States,

538 U.S. 500, 504, 123 s.ct. 1690, 155 L.Ed. 2d 714 (2003).

"The procedural default rule is neither a statutory nor a

Constitutional requirement, but it is a doctrine adhered

to by the Courts to conserve judicial resources and to respect

the law's important interest in the finality                                   of judgments."

Id. Newman argues that he has demonstrated cause and prejudice

sufficient to overcome the procedural default rule.


B. CAUSE.

          Cause excusing procedural default is shown if a claim

"is so moved that it legal basis [was] not reasonably available

to counsel" at the time of the direct appeal. Reed v.Ross, 468
                                                 .     .
U.S. 1,,.,;,16". 104, s.ct. 2901, 82L~.J.!:d. 2d 1· (1984). ~lt·~Jl relevan:t
         '""   ~··._a•1>;..,.,.~   •    .,.~.,,,           .,..,
                                                                   . ;.-   ~       •"!~"-   --···~   ••   •



here,ThS Supreme Court has stated that, if one of its decisions

"explicity over-rule[s]" prior precedent when it articulate

"a constitutional principal that had not been previously

recognized but which is held to have retroactive application,"



                                                          /7\
  Case: 4:11-cr-00011-SNLJ   Doc. #: 182 Filed: 07/30/18   Page: 8 of 13 PageID #:
                                        578


then, prior to that decision, the new Constitutional principle

was not reasonably available to Counsel, so a defendant has

cause for failing to raise the issue. Id. at 17.

And that is precisely the situation here. This Court, the

government or the defendant Newman could have         reaso~ably


anticipated Dimaya at the time of Newman's conviction or original

§2255 motion. United States v. Redrick, 841 F.3d 478, 480

(D.C. Cir.2016). Therefore, the Dimaya claim was not reasonably

available to Newman at the time of his direct appeal, and that

is sufficient to establish cause.


G. PREJUDICE.

             Newman, must also show "actual prejudice resul tin•;r

from the errors of which he complains." United States v. Frady,

456 U.S. 152, 168, 102, s.ct. 1584, 71 L.Ed 2d 816(1982). The

Supreme Court has refrained from giving precise content to the

term 'prejudice,' expressly leaving to future cases further

elaboration of the significance of that term," Id. at 168

(quoting Wainwright v. Sykes, 433 U.S. 72, 91, 97 S.Ct. 2497,

53 L.Ed. 2d 594 (1977)), but its language indicates that Newman

must show that the error of· which he complains is an "error

of Constitutional dimensions" that "Worked to his actual and

substantial disadvantage," Id at 170.

Newman was sentenced under 18 U.S.C. §§ 924(c), 1201(a). The

                                                                            .......
                                                                                 ,I



which Newman received 84 months for. The § 1201 (a) offense

attributed.168 months for Newman. Newman claims that these




                                    (8)
     Case: 4:11-cr-00011-SNLJ        Doc. #: 182 Filed: 07/30/18         Page: 9 of 13 PageID #:
                                                579

  statutes do not apply to him and that his sentence is invalid

  after Dimaya. Therefore, in light of Glover v. United States,

  531 U.S. 198, 203, 121 s.ct. 696, 148 L.Ed.2d 604 (2002),                           ("Any

  amount    of jail time has significance.")

  Furhtermore, a sentence that is not authorized by law is certainly

  an "actual and substantial disadvantage" of Constitutional

  dimensions." See Frady, 456 U.S. at 170.

  Therefore, Newman has shown actual prejudice ariving from asserted

  error. Because he has shown both cause and prejudice, his claim

  overcomes procedural default.


               III. SECTION 924(c) IS UNCO,~STITU'rIONALLY~,VAGYE.


  In Sessions v. Dimaya.~ .. -~~! __ l?:-:.l~~~L ~Q.1-~ J'?~-) ?9.<!~.!1. (-q_~.s •. ~P.;-~;t;,_
  17, 2018), The Supreme Court held that 18 u.s.c. § 16(b)'s

  definition of a "Crime of Violence" is unconstitutionally vague

  in light of its reasoning in Johnson v. United states, 135 s.ct.

  2551   (2015), which invalidated the similarly worded residual

  definition of a "violent"felony" in the Armed~ Career Criminal

  Act (ACCA). 2018 WL 1800371, at #4; See also Golicov v. Lynch,

  837 F.3d 1065, 1072 (10th Cir. 2016)                  (ruling that§ 16(b) "must

  be deemed unconstitutionally vague in light of Johnson"). The

  The Dimaya Court explained that the same two features rendered

  the clauses unconstitutionally vague: they '"require a court

  to picture the kind of conduct that the crime involves in the

, . ordinaJ'."~ _,_c~s.e," and to ju'ag~~..;,Whether ..th~L.abstracbio~ .P7.ese·nts ·
                                                                                                   >'f_. ~ ,! • •    ;I
                                                                                                             •      t. ,,,,-:(...,.., ..


                                                        .         '
  some not - well - specified - yet - sufficiently - large degree

  of risk." Dimaya, 2018 WL 1800371, at *9 (quoting Johnson, 135

  s,ct. at 2557). The Court also rejected several reasons for

  distinguishing §16 (b) from the ACCA, namely that§ 16(b)
,.          Case: 4:11-cr-00011-SNLJ   Doc. #: 182 Filed: 07/30/18   Page: 10 of 13 PageID
                                                #: 580


      requires a risk that force be used in the course of committing

      the offense, focuses on the use of physical force rather then

      physical injury, does not contain a confusing list of enumerated

      crimes, and does not share the ACCA'S history of interpretive

      failures. Id. at 12-16.

                    Newman argues that§ 924(c)(3)(B); definition of a

      "crime of violence," which is identical to 16(b), is like>Yise

      unconstitutionally vague. Courts have held and noted the simarlity

      between the two provisions and consequently held that "cases

      interpreting [§16(b)J inform our analysis" when interpreting

      § 924 (c} (3)'(B'>; united states v. Serafin, 562 F.3d ·1105, ·11oa·

      e n.4 (4th Cir.2009). Other circuits interpret§ 16(b) and§

      924(c)(3)(B) similarly, as well. See In reHubbard, 825 F.3d

      225, 230 n.3 (4th cir. 2016) ("[T]he language of §16(b) is

      identical to that in §924 (c)(3)(B), The Seventh Circuit ruled

      that § 16(b) was unconstitutionally vague in United States v •

     .·.. Vivas-Cejc, 808 F.3d 719 (7th Cir. 2015), and then addressed

      the   ~onstitutionality     of§ 924 (c)(3)(B) in United States v.

      Cardena, 842 F.3d 959 (7th Cir. 2016). In Cardena, the Seventh

      Circuit ruled that § 9 2 4 ( c) ( 3) 's residual clause was "the sarn·a

      residual clause contained in [§16(b)J" and accordingly held

      that"§ 924 (c)(3)((B) is unconstitutionally vague." Cardena,

      842 F.3d at 996.

               Other circuits have upheld §924 (c)(3)(B)rs
                  ~ }~. - . ··~ . .         ' . ~. ' .
      constitutionally, but they were not faced with binding authority

      holding§ 16(b) unconstitutional. See United States v. Garcia,

      857 F.3d 946, 955 (D.C. Cir.2017); Uvalles, 861 F.3d at 1265

      (11th Cir.); United States v. Prickett, 839 F.3d 697, 699 (8th

      Cir. 2016); United States v. Hill, 832 F.3d 135, 150 (2nd Cir.

                                            ( 1 0)
        Case: 4:11-cr-00011-SNLJ                       Doc. #: 182 Filed: 07/30/18   Page: 11 of 13 PageID
                                                                #: 581



   2016); United States v. Taylor, 814 F.3d 340, 379 (6th cir.2016).

   For the most part, the grounds for those decisions apply equally

   to§ 16(b) and mirror the distinctions between the ACCA'S residual

   clause and § 16(b) that was rejected in Dimaya.

          Additionally, ["whether] a crime fits the §924(c) definition

  of a 'crime of violence' is a question of law, United States

  v. Morgan, 748 F.3d 1024, 1034 (10th cir. 2014). Employing the

  categorical approach to 924(c)(3)(B), means determining whether

  an offense is a crime of violence "without inquiring into the

  specific conduct of this particular offender," Serafin, 562

  F.3d·at .1107-08 (quoting:United States·v. West, 550 F.3d 952,

  957 (10th cir. 2008)). Consequently, § 924(c)(3)(B), like

  16(b), "requires a court to ask whether 'the ordinary case'

  of an offense pose the requisite risk. Dimaya, 2018 WL 1800371,

  at *5 (quoting James v. United States, 550 U.S. 192, 208 (2007),

  overruled on the grounds by Johnson, 135 s.ct. 2551). Regardless

.-..~Pi;- whether                 a jury.,,,mus± find the .defendant guilty of, ·§.,ae24(c)

  beyond a resonable doubt, then, the ordinarily case requirement

  and an ill - defined risk threshold "combines in the same

  constitutionally problematic way" as § 16(b) and necessarily

   'desolves into graswork and intuition, invites arbitrary enforce-

  ment, and fails to provide fair notice." Id. at* 7, *16 (quoting

  _Johnson, 135 S.Ct. at 2559). Ultimately, § 924 (c)(3)(B)
                                                                                                  '·
  possess~s ..   A   ...   ~,.
                                 the same f eature_s·: as the ACCA 's r:e_sidua],. clause. and
                                  ...   ,:   •   -·~          ~   '   ...   •   ••




  § 16(b) that combine to produce 'more unpredictability and

  arbitrariness than the due process clause tolerates," Id. at

  16 (quoting Johnson, 135 s.ct. at 2558), and Dimaya's reasoning

  for invalidating§ 16(b) applies equally to§ 924(c)(3)(B).

  Section 924(c)(3)(B) is likewise unconstitutionally vague.
                                                            11"' "-
            Case: 4:11-cr-00011-SNLJ    Doc. #: 182 Filed: 07/30/18         Page: 12 of 13 PageID
                                                 #: 582
...
,.,                                    IV. FORCE CLAUSE


      There is no question as to the constitutionality of the clause;

      Newman argues that it does not apply to kidnapping. The Force

      Clause defines a crime of violence as a felony that 'has an

      element the use, attempt use, or threatened use of physical

      force against the person or property of another. 18 u.s.c. §

      924(c)(3)(A). In determining whether a crime fits this definition

      a court may only look at the elements of the offense, [not]

      the underlying facts of conviction. United States v. Yang. 799

      F.3d 750, 752 (7th cir.2015) (interpreting the functionally

      identical force clause of the armed career criminal act) •. Thus,

      in evaluating whether kidnapping under § 1201 (a) is a crime

      of violence under§ 924(c)(3)(A), the kidnapping statute must

      have as an element the use, attempted use, or threatened use

      of physical force; it is irrelevant whether a defendant actually

      used force in the commission of the crime. Id.

            Section 1201    (a) punishment for kidnapping:
                 ~     •'         '·      '   .
                                              ...,.,                 . -'         •, ""             t·~·




           [W]hoever unlawfully seizes, confines, inveigles, decoys,
      kidnaps, abducts, or carries away and holds for ransom or reward
      or otherwise any person ••• when the person ••• when the person
      is willfully transported in interstate or foreign commerce.

      18   u.s.c. § 1201 (a).
      Various circuits have held that false imprisonment and kidnapping

      by deception ••• do not have physical force as an element,                          (citing

, .. ,_...,."United Sta~.."?J:.-•. ~amo:r;rq, 22~ F.3d 75.6.,_ 7p:1_-~5 (10th'cir. 200.0);

      United States v.Williams, 110 F.3d 50, 52-53 (9th cir. 1997);

      United States v. Kaplansky, 42 F.3d 320, 324 (6th cir. 1994)

      (enbanc))). See Delgado - Hernandez v. Holder, 697 F.3d 1125,1130

      (9th cir. 2012) ("The federal kidnapping statute has no force



                                                       I 1 ..,. \.
   Case: 4:11-cr-00011-SNLJ   Doc. #: 182 Filed: 07/30/18   Page: 13 of 13 PageID
                                       #: 583


requirement ••• ")

   Therefore, kidnapping is not a crime of violence under the

force clause.



                                 CONCLUSION

Petitioner Newman respectfully asks this Court to vacate his

conviction and remand back to this Court for resentencing.




                                              Respectfully submitted,




                          CERTIFICATE OF SERVICE

I, Larry Newman, do hereby state under the penalty of perjury

under 28   u.s.c. § 1746 that I have this same day served this
Court wflh ~- true copy- of this 28     u.s.c. § 2255,' in addition
to the United States Attorney, by mailing such in the U.S. ?ostal

service with first class prepaid postage affixed and address

as follow:

             Off ice of the Clerk
             United States District Court
             Southern Division
             555 Independence Street.
             Cape Girardeau~ 'Mo'~· 63703




                                    ( 13)
